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                 April 25, 2023

                 VIA CM/ECF
                 The Hon. J. Robert Kugler
                 U.S. District Court of the District of New Jersey
                 Mitchell S. Cohen Building & U.S. Courthouse
                 1 John F. Gerry Plaza, Courtroom 3C
                 4th and Cooper Streets
                 Camden, NJ 08101

                            Re:          In re Valsartan, Losartan, and Irbesartan Products Liability
                                         Litigation, No. 1:19-md-02875-RBK-JS (D.N.J.)

                 Dear Judge Kugler:

                 Wholesaler Defendants respectfully submit this letter brief seeking clarification
                 and modification of Case Management Order 32 (“CMO 32”), entered April
                 21, 2023, with respect to two issues: (1) the partial grant of Plaintiffs’ requests
                 for certain discovery from Wholesalers and (2) Wholesalers’ requests for
                 discovery of TPP Plaintiffs, which were not addressed in CMO 32.

                                                    Discovery to Wholesalers
   CLEVELAND

    COLUMBUS
                 With respect to the discovery now ordered against Wholesalers, as set forth
    CINCINNATI   more specifically below, three issues require clarification and/or modification:
     CHICAGO

    NEW YORK     (1) CMO 32 does not reflect the parties’ extensive briefing and argument
WASHINGTON DC
                     regarding the production of Wholesaler profits and pricing data that Judge
   BOCA RATON
                     Schneider deferred ruling on three years ago, including Wholesalers’
                     argument that Wholesalers do not keep in the ordinary course of business
   ULMER.COM         “net price” or profit information for VCDs;

                 (2) The categories of documents to be produced and the terminology
                     employed in CMO 32, as with Plaintiffs’ Requests for Production
                     (“RFPs”) on which CMO 32 is presumably based, are undefined, as well
                     Walnut Street                           FIRM   .   .             FAX      .      .
                 Suite
                 Cincinnati, OH      -



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            as untethered to any specific VCD transactions at issue, and thus are overly
            broad and create confusion as to the scope of the information to be
            produced; and

      (3) The timeline for production in CMO 32 does not account for the
          significant internal and potentially external resources needed to even
          attempt to approximate the information ordered to be produced with
          respect to profits and net pricing.1

      The History of the RFPs at Issue

      First, the parties extensively briefed and argued issues related to Plaintiffs’
      requests for production seeking price and profit information before Judge
      Schneider three years ago. At the time, Judge Schneider voiced concerns with
      the scope of Plaintiffs’ requests and their lack of case law demonstrating their
      right to this discovery. Judge Schneider specifically tabled the dispute, and his
      ruling on it, for a later time—until after decisions on the motions to dismiss.
      But CMO 32 does not now address any of the issues and arguments specifically
      raised with Judge Schneider years ago. Instead, CMO 32 merely orders, without
      explanation, that “wholesalers’ costs and profits data for VCDs” as well as “the
      prices wholesalers paid for VCDs” and “the prices wholesalers sold VCDs
      downstream” be produced. Wholesalers respectfully request that the parties
      pick up where they left off before Judge Schneider and present these issues to
      this Court (or to Judge Vanaskie) for full consideration.




      1
        Wholesalers further note that the discovery as ordered is overly broad because
      it is not tailored to a proposed trial against Wholesalers or even to specific
      transactions actually involving Wholesaler Defendants. Additionally, the terms
      “costs and profits data” and “prices” as used in CMO 32 are vague and
      ambiguous, and do not match the similarly vague and ambiguous terms used in
      Plaintiffs’ original RFPs, on which Wholesalers presume CMO 32 was based.


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      The Ambiguity in the Discovery as Ordered

      Second, the categories of discovery listed in Section 7.1 of CMO 32 are vague
      and untethered to the actual requests that were at issue in 2020 when Judge
      Schneider tabled this dispute and reserved ruling for a later time. At the time,
      the specific requests that Plaintiffs issued called for “gross price” and “net
      price” Wholesalers paid to Manufacturers and were paid by Retailers, for
      specific transactions. Those were the requests that the parties discussed,
      briefed, and argued at that time. Plaintiffs have served no new requests since
      2020 asking for different pricing or profits information. Similarly, Section 7.2
      of CMO 32 grants Plaintiffs’ request for “further targeted discovery and
      depositions of wholesaler custodians and FRCP 30(b)(6) deponents,” but does
      not clarify what search terms will apply to that custodial discovery or what it
      means by “targeted.”

      The Production Timeline Does Not Account for the Fact That Net Pricing
      and Profit Information is Not Kept in the Ordinary Course of Business
      and Requires Significant Internal Resources and Potentially External
      Expert Assistance
      Third, CMO 32 orders that Wholesalers produce this information by May 30,
      2023. As demonstrated below, even if the pricing information that must be
      produced is better defined, and even if it could be produced, it would entail a
      herculean effort requiring internal resources as well as potential expert
      assistance that still could not be accomplished within that abbreviated time
      frame. Wholesalers seek relief from this deadline pending resolution of the
      other issues mentioned above, as well as the opportunity to explain to the Court
      how the production cannot be accomplished in such a short window, if at all.

      Wholesalers’ Requested Clarification/Modification

      In light of the multiple issues identified above, Wholesalers seek clarification
      and/or modification of CMO 32 to order that:



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             (1) Plaintiffs and Wholesalers meet and confer to define “costs and
      profits data” and “prices”, and to discuss the resource requirements to
      approximate such information, which is not kept in the ordinary course of
      business, and that due to the above, such information is not required to be
      produced by May 30, 2023;

             (2) Should the Court determine that “costs and profits data” should be
      produced, the Court will order a hearing on the issues raised with and tabled
      for consideration by Judge Schneider and herein, including the request to first
      define a specific trial involving states where profits are the proper measure of
      unjust enrichment damages, the requirement that Plaintiffs identify the specific
      transactions related to that trial and to specific Wholesalers, and the necessary
      timeline given the need for expert assistance and significant internal resources;
      and
             (3) The parties meet and confer on the scope of any custodial
      discovery and an agreed-to list of Wholesaler-specific search terms.

                            Wholesalers’ Discovery to Plaintiffs

      With respect to the discovery that Wholesalers have requested of Plaintiffs,
      CMO 32 makes plain that discovery on Plaintiffs’ certified class claim of unjust
      enrichment is open. Therefore, Wholesaler Defendants request that, like
      Plaintiffs, they, too, be permitted to collectively serve a tailored set of Requests
      for Production and Rule 30(b)(6) Notices of Deposition (attached hereto as
      Exhibit 1 and Exhibit 2) that seek fact discovery relevant to the elements of
      Plaintiffs’ certified unjust enrichment claim and Plaintiffs’ purported damages.
      To put it concisely, in their unjust enrichment cause of action, Plaintiffs purport
      to seek damages for their coverage of millions of dollars of VCD prescriptions
      in a scenario they claim leaves them injured and Wholesalers unjustly enriched.
      Plaintiffs must now provide discovery on what they have consistently claimed
      was not yet ripe—they must provide Wholesalers proof of the actual
      prescription coverage claims in issue versus the Wholesaler Defendants; they
      must demonstrate how Plaintiffs can trace those claims to involvement by an



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      individual Wholesaler; and they must address where the equities between these
      parties fall.2

      Thus, Wholesalers request that the Court clarify CMO 32 to grant the discovery
      that Wholesalers requested of Plaintiffs.

                                           * * *

                            Factual Background and Legal Argument

      Factual Background: Discovery to Wholesalers

      On November 7, 2019, the Court ordered Plaintiffs to submit proposed
      Requests for Production to Wholesalers. Dkt. 292. After several months of
      negotiations regarding these requests, on March 3, 2020 the Court ordered the
      parties to submit briefing on their “macro” discovery disputes. Dkt. 388.
      Relevant here, Wholesalers objected to Plaintiffs’ proposed RFPs 2 and 4:



      2
        In the event that Plaintiffs argue that Wholesaler Defendants’ request for
      discovery from Plaintiffs is inappropriate because discovery is somehow closed
      for Wholesalers (but not Plaintiffs), the Court already has rejected that
      argument in both the context of the TPP trial case, and now via issuance of
      CMO 32, which specifically permits discovery related to the certified class
      claim of unjust enrichment. Plaintiffs’ insistence on this position in the meet
      and confer process resulted in no progress on this front, and Wholesalers
      intended to take it up at the Case Management Conference. In light of CMO
      32, however, which made no mention of the issue, Wholesalers delivered the
      draft discovery to Plaintiffs and have a meet and confer planned for today, but
      did not believe they could leave the issue for another time. Thus, Wholesalers
      have filed this letter brief on the topic, two business days after receipt of CMO
      32.



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           RFP 2: The gross and net price paid by you for VCDs identified in
            Request No. 1.
           RFP 4: The gross and net price paid by purchasers to you for VCD sales
            identified in Request No. 3.

      On April 13, 2020, Plaintiffs filed their letter brief regarding this discovery,
      Dkt. 413, and on June 29, 2020, Plaintiffs filed a reply (Dkt. 501) and on June
      30, 2020, a notice of supplemental authority in support of their letter brief. Dkt.
      501. Wholesalers filed their letter brief on June 16, 2020, attaching multiple
      company declarations in support of their arguments. Dkt. 478.

      The Court held oral argument on the macro discovery disputes on July 6, 2020.
      Dkt. 510. Judge Schneider expressed skepticism about the law Plaintiffs cited
      in support of their request for pricing and profit discovery, noting that Plaintiffs
      were unable to identify any support for their wide-reaching requests:

              (Judge Schneider) We read the cases that the plaintiff cited where
              the Court has ordered the production of pricing and profit
              information. We’re not dealing with the punitive damage issue
              right now. We’re not dealing with an antitrust case. We’re not
              dealing with a patent case. … But have you cited one case in the
              product liability context where a Court has said that the
              plaintiffs are entitled, in discovery, to this type of profit
              information, pricing information? One case?
              …
              (Stanoch) I think, though we probably did not.

      Dkt. 510 at 56 (emphasis added). After hearing argument from both parties,
      Judge Schneider ruled from the bench as follows:

              Plaintiffs want to know the gross and net prices paid for the
              valsartan the wholesalers bought and the gross and net prices they
              sold the valsartan to downstream purchasers. Plaintiffs argue this
              discovery is relevant to their disgorgement and unjust enrichment



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              claims. They also argue the discovery is relevant to motive and
              intent, which the Court completely discounts. The wholesalers
              argue the requested discovery is irrelevant, would be unduly
              burdensome to produce, and involves extremely confidential and
              trade secret information. As to this discovery request, the Court
              declines to decide at this time if the requested discovery is relevant
              within the meaning of Rule 26. Instead, the Court finds that
              since the requested discovery is not relevant to a core issue in
              the case, and the viability of plaintiffs’ profit and
              disgorgement claims will be decided when the Court rules on
              defendants’ motions to dismiss, there is no pressing need for
              the wholesaler defendants to produce the requested sales and
              profit information now. From the beginning of the case, the
              Court has said it wants the parties to focus on the core issues. For
              example, was defendants’ valsartan contaminated? With what?
              How much? When did this occur? Did plaintiffs ingest
              contaminated valsartan? Plaintiffs’ request for profit and sales
              discovery, while ultimately may be important and relevant, is not
              directed to these core issues. The Court, therefore, defers this
              discovery for a later time in the case. The Court and parties
              can revisit plaintiffs’ request after defendants’ motions to
              dismiss are decided.

      Id. at 85-86 (emphasis added). On July 7, 2020, the Court issued an order
      denying Plaintiffs’ RFPs 2 and 4 without prejudice. Dkt. 507.

      Pursuant to agreement between Plaintiffs and Wholesalers, as to all RFPs in
      Plaintiffs’ final set, “‘[d]ocuments’ shall refer only to centrally stored, non-
      custodial data maintained by Wholesaler Defendants in the ordinary course of
      business, and shall not refer to emails or custodial data held by individual
      employees of the Wholesaler Defendants.” Dkt. 508-2 at 3 (emphasis added).
      See also Dkt. 413 (“Plaintiffs have agreed to forego custodial discovery (i.e.
      email searches and electronic search terms), the most expensive and time-




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      consuming collection efforts required in litigations of this magnitude, for
      now.”).

      Legal Argument: Pricing and Profit Discovery

      Wholesalers object to the Court’s Order granting discovery as to “wholesalers’
      costs and profits data for VCDs” for several reasons. First, as noted by Judge
      Schneider almost three years ago, Plaintiffs provide no authority for their broad
      request. Second, Wholesalers do not keep net pricing and profit information in
      the ordinary course of business, and are not required to create such information
      for this litigation. Third, this discovery is overly broad and not tethered to
      specific purchases or transactions actually involving Wholesalers. Fourth,
      because of the overly broad nature of the requests, this discovery encompasses
      transactions in states where profits or disgorgement are unavailable as a remedy
      for UE claims, such that Wholesaler pricing and profit information is entirely
      irrelevant. Finally, Wholesaler pricing and profits information requires
      heightened protection due to the commercial sensitivity and trade secret nature
      of this information.

                  a. Plaintiffs provide no authority in support of their request for
                     pricing and profit information.

      As Wholesalers argued in their 2020 brief on macro discovery issues, Plaintiffs
      have not identified any on-point case law that would support their request for
      the burdensome production of highly sensitive Wholesaler pricing or profit
      information. Dkt. 478 at 11. At oral argument, Judge Schneider questioned
      Plaintiffs about their lack of on-point authority and inapposite cases, inquiring:
      “have you cited one case in the product liability context where a Court has said
      that the plaintiffs are entitled, in discovery, to this type of profit information,
      pricing information? One case?” Dkt. 510 at 56. Plaintiffs’ response was: “we
      probably did not.” Dkt. 510 at 56. Nearly three years later, Plaintiffs still fail to
      provide any authority for their entitlement to this broad pricing or profit
      discovery.




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                  b. Net pricing and profit information is not kept in the ordinary
                     course of business.

      As Wholesalers have explained to Plaintiffs and the Court in the past,
      Wholesalers do not keep “net price” or profit information in the ordinary course
      of business. There is no single database or spreadsheet that Wholesalers can
      consult to retrieve this information. Instead, Wholesaler pricing methods
      involve a complex system including, among other factors, discounts,
      chargebacks, and rebates calculated and imposed on a transaction-by-
      transaction basis, with differing standards and prices applied to varying
      “baskets” of products sold to numerous customers. See Dkt. 478. Wholesalers
      neither calculate nor maintain net pricing (or profits) information on VCDs on
      either a product or individual transaction basis in the ordinary course of
      business. Dkt. 478-3, McKesson Profit Decl. ¶¶ 6–8, 21; 478-5, Cardinal Profit
      Decl. ¶¶ 2, 8–9, 12; 478-6, ABC Decl. ¶ 16. As Wholesalers previously
      articulated, the effort to even attempt to create and produce the requested
      information for the recalled NDCs would be extremely burdensome, requiring
      hundreds, if not thousands, of employee and expert hours to create this
      information uniquely for this discovery, if it is even possible to do at all. Dkt.
      478-3, McKesson Profit Decl. ¶¶ 6–11, 21–23; 478-5, Cardinal Profit Decl. ¶¶
      2, 9–10, 12.

      Wholesalers should not be required to attempt to create new documents or
      information to respond to Plaintiffs’ discovery requests. Wilson v. Wash. Metro.
      Area Transit Auth., No. 05-2146 (GK)(AK), 2008 WL 11408470, at *2 (D.D.C.
      Mar. 4, 2008) (“The Court cannot order Plaintiff to produce documents that do
      not exist.”); see Harlow v. Sprint Nextel Corp., No. 08-2222-KHV-DJW, 2013
      WL 6185690, at *6 (D. Kan. Nov. 26, 2013) (denying motion to compel where
      responding party represented that a responsive data dictionary did not exist).3

      3
       In the context of productions of structured data, the parties “must consider the
      database as it is, not as it could be.” The Sedona Conference Database
      Principles Addressing the Preservation and Production of Databases and
      Database Information in Civil Litigation, 15 Sedona Conf. J. 171, 193 (2014).


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       And even if the underlying information required for such calculations could be
       extracted and teased out of the mix of other factors that drive pricing on a
       customer level, which Wholesalers doubt, the process to determine
       Wholesalers’ profits for requested transactions would be highly burdensome
       and would require expert assistance. Dkt. 478-3, McKesson Profit Decl. ¶¶ 9–
       11, 14–15, 18, 22–23; 478-5, Cardinal Profit Decl. ¶¶ 3, 8–24; 478-6, ABC
       Decl. ¶¶ 17, 19–22. Plaintiffs’ requests implicate eight years of data on
       individualized and constantly changing chargebacks, rebates, discounts,
       expenses, overhead, and taxes for each purchase and sale to and from the many
       Retailer and Manufacturer Defendants. See, e.g., Dkt. 478-3, McKesson Profit
       Decl. ¶¶ 10, 14–15, 18, 22–23; 478-5, Cardinal Profit Decl. ¶¶ 5–11, 20–22,
       24; 478-6, ABC Decl. ¶¶ 8–12, 17, 20–22.

       Compliance with the Order would require Wholesalers to identify, disinter, and
       export a staggering amount of uncoordinated contractual and transactional
       information in various formats from various locations in varying states of
       completeness and usability; to integrate and normalize these information
       streams in a customized database; and then to calculate and validate the
       demanded pricing data. See, e.g., Dkt. 478-5, Cardinal Profit Decl. ¶¶ 4–24.
       Such information would need to be individually sourced from a variety of
       active, archived, and legacy systems, some of which were decommissioned and
       whose administrators had long since departed the scene before this litigation
       ever started. Id. ¶¶ 8, 12–24. A veritable army of experts, internal and external
       IT, programming, accounting, sales, business units, managerial, and consulting
       resources would be required to even try to calculate such information—with
       little likelihood of obtaining reliable figures. Id.

       In contrast to Wholesalers’ concrete evidentiary showing of burden to create
       and collect the net pricing and profit information sought, Plaintiffs simply state
       that this information “is necessary to class damages calculations.” Dkt. 2338 at
       4. However, as discussed in more detail below, Plaintiffs do not identify the
       trial or even a subclass involving the “damages calculations” in question.
       Plaintiffs’ failure to appropriately tailor their requests imposing this significant



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       burden on Wholesalers demonstrates the lack of justification for such
       discovery. See Capetillo v. Primecare Med., Inc., No. 14-2715, 2016 WL
       3551625, at *2 n.2 (E.D. Pa. June 28, 2016) (discovery request for medical
       complaints over 5 to 10-year period unduly burdensome and therefore limited
       to fractional time period and by subject matter because it triggered onerous
       manual review of database).

       Wholesalers request that the Court permit and consider briefing on the
       propriety and scope of those requests, including proposals for cost-shifting
       associated with the significant burden the requests entail, such as the expert
       assistance required to isolate the type of data that Plaintiffs request.

                   c. Plaintiffs’ requests are overbroad and untethered to specific
                      claims or transactions.

       Plaintiffs have the burden of creating tailored discovery requests that relate to
       the claims of the specific Plaintiffs (e.g., consumers and TPPs) at issue, and
       their specific VCD transactions. E.g., Campbell v. Sedgwick, Detert, Moran &
       Arnold, No. 2:11-CV-0642(ES-CLW), 2012 WL 12898345, at *3 (D.N.J. Oct.
       9, 2012) (instructing plaintiff who submitted overbroad requests to
       “appropriately tailor his requests to relevant discovery as it relates to his
       operative Complaint.”); Salamone v. Carter’s Retail, Inc., No. CIV.A. 09-5856
       GEB, 2011 WL 1458063, at *3 (D.N.J. Apr. 14, 2011) (affirming magistrate’s
       decision to narrow[] the scope of Plaintiff's discovery requests, ‘tailor[ing
       them] to the specifics of the case.”) (internal quotations omitted).

       Here, Wholesalers have no information tying the discovery requests to a
       particular case or set of transactions. Plaintiffs do not propose a trial they intend
       to bring against Wholesalers, and do not identify the named Plaintiffs, relevant
       specific jurisdiction(s), applicable law and scope and bases of claims for which
       they seek this discovery. Instead, Plaintiffs seek all revenues and all profits for
       all VCDs Wholesalers purchased from Manufacturer Defendants and sold to
       Retail Pharmacy Defendants over a period of eight years. This far-reaching
       request is undoubtedly overbroad and includes revenues and profits on VCDs



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       paid for by consumers and TPPs in states where disgorgement is unavailable as
       a remedy. Plaintiffs do not even identify the specific VCD transactions they
       contend involved a Wholesaler Defendant. Logically, Wholesalers will not
       have any information for transactions that did not involve Wholesalers—for
       example, where the relevant Pharmacy Defendant purchased the VCDs directly
       from the Manufacturer or from a non-defendant wholesaler. Plaintiffs must
       identify the transactions involving Wholesaler Defendants—especially because
       Plaintiffs contend they have the data to do so—before demanding Wholesalers
       produce pricing or profit information related to those transactions.

                   d. Pricing and profit information is entirely irrelevant to
                      Plaintiffs and transactions in states where disgorgement is
                      unavailable.

       “[T]he requirement of Rule 26(b)(1) that the material sought in discovery be
       ‘relevant’ should be firmly applied.” Herbert v. Lando, 441 U.S. 153, 177
       (1979). Plaintiffs contend they need Wholesalers’ pricing and profits
       information for “class damages calculations.” Dkt. 2338 at 4. But this request
       ignores the fact that disgorgement of profits is not available as a remedy for
       Plaintiffs’ UE claims in all states. For example, states such as Arizona, New
       Jersey, and New York, among others, hold that the appropriate measure of
       damages for a UE claim is the reasonable value of the goods—not the
       defendant’s profits. See Dkt. 2011-9; Beauchamp L. Off. PC v. Gust Rosenfeld
       PLC, 2018 WL 1868033, at *2–4 (Ariz. Ct. App. Apr. 19, 2018); Rauch v.
       Rauch, 2017 WL 3722545 at *8 (N.J. Super. Ct. App. Div. Aug. 30, 2017);
       Community Care Physicians, P.C. v. Domagalski, 2016 WL 1735501 at *3
       (N.Y. City Ct. May 2, 2016). Wholesalers’ profits are therefore entirely
       irrelevant to Plaintiffs’ claims arising out of the laws of states where profits or
       disgorgement is not an appropriate remedy, and Wholesalers should not be
       required to produce profits information related to the transactions involving
       Plaintiffs from those states.




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                   e. Wholesaler pricing and        profits   information     requires
                      heightened protection.

       Generally, confidential pricing information can qualify as a trade secret.
       Southwest Stainless, LP v. Sappington, 582 F.3d 1176, 1189 (10th Cir. 2009);
       see also Lamorte Burns & Co. v. Walters, 167 N.J. 285, 298–99 (N.J. 2001).
       The U.S. Supreme Court has held that trade secrets are property and thus are
       protected by the 5th Amendment Takings Clause. Ruckelshaus v. Monsanto
       Co., 467 U.S. 986, 1003–1004 (1984). Pricing data is extremely valuable
       because of its confidentiality, and production would irreversibly destroy that
       value. See id. at 1011–12 (“The economic value of [trade secrets] lies in the
       competitive advantage over others that [their owner] enjoys by virtue of its
       exclusive access to the data, and disclosure or use by others of the data would
       destroy that competitive edge.”); DTM Research, L.L.C. v. AT&T Corp., 245
       F.3d 327, 332 (4th Cir. 2001) (“‘proprietary aspect’ of a trade secret flows, not
       from the knowledge itself, but from its secrecy.”); Black, Sivalls & Bryson, Inc.
       v. Keystone Steel Fabrication, Inc., 584 F.2d 946, 952 (10th Cir. 1978) (“ability
       to predict a competitor’s bid with reasonable accuracy would give a distinct
       advantage to the possessor of that information.”).

       As Wholesalers previously informed the Court, Wholesaler Profit Information
       is proprietary to Wholesalers and constitutes trade secrets. 478-5, Cardinal
       Profit Decl. ¶¶ 25–30; 478-6, ABC Decl. ¶¶ 18, 20–23. Plaintiffs have made no
       showing to justify production of such protected information.

       Legal Argument: Custodial Discovery

       Wholesalers object to the Court’s Order granting “further targeted discovery
       and depositions of wholesaler custodians” because (1) to the extent Plaintiffs
       even request this discovery, Plaintiffs’ request is vague and ambiguous; and (2)
       this discovery is overly broad. Wholesalers request that the Court direct the
       parties to meet and confer on the scope of the “targeted” custodial discovery
       and the list of mutually-acceptable Wholesaler-specific search terms.




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                   a. To the extent Plaintiffs seek discovery from Wholesaler
                      custodians, their request is vague and ambiguous.

       First, it is unclear from Plaintiffs’ trial and scheduling proposal what, if any,
       custodial discovery they seek from Wholesalers, more than three years after the
       parties agreed to forego custodial discovery. In their April 12, 2023 letter to the
       court, Plaintiffs simply state that they “envision limited fact and expert
       discovery of Wholesalers, similar to that discussed above as to Retailers.” Dkt.
       2338 at 4. Plaintiffs’ counsel’s only statement regarding custodial discovery
       during the March 29, 2023 hearing is similarly vague: “…we need to do some
       targeted custodial discovery.” 3/29/23 Tr. at 32:2-3 (emphasis added). To the
       extent Plaintiffs seek custodial discovery from Wholesalers, no specifics or
       parameters have been contemplated, and it is entirely unclear what Plaintiffs
       actually seek. Plaintiffs’ proposal to apply some or all of the search terms
       relevant to Manufacturers is similarly vague. Such vague and ambiguous
       requests are not permissible.

                   b. Plaintiffs’ request is overly broad.

       For the same reason Plaintiffs’ request for custodial discovery is vague and
       ambiguous, their request is also overly broad. Plaintiffs’ request for custodial
       discovery is currently unbounded by any parameters, and Plaintiffs’ promise
       that such requests will be “targeted” is insufficient to satisfy the requirement
       that they tailor their requests. See Campbell, 2012 WL 12898345, at *3;
       Salamone, 2011 WL 1458063, at *3.

       Legal Argument: Affirmative Discovery

       Wholesaler Defendants should be permitted to obtain additional discovery from
       Plaintiffs about their unjust enrichment claim. CMO 32 makes apparent that
       discovery with respect to the Plaintiffs’ certified class claim of unjust
       enrichment is permitted and not foreclosed. While Wholesaler Defendants
       continue to believe that any discovery should be tethered to a defined trial that
       Plaintiffs propose to bring against them, CMO 32 currently permits Plaintiffs



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       to undertake certain discovery of Wholesaler Defendants, including custodial
       discovery and additional Rule 30(b)(6) depositions, in the absence of a specific
       case identified for trial. As such, Wholesaler Defendants request that the Court
       provide them the same opportunity to take discovery from Plaintiffs on their
       unjust enrichment claim. Specifically, at this time, Wholesaler Defendants
       request that the Court permit them to collectively serve TPP Plaintiffs with
       Requests for Production and Rule 30(b)(6) Notices of Deposition that seek (1)
       fact discovery regarding the value of the VCD drugs to relevant TPP Plaintiffs,
       including in contract fulfillment and contract and plan renewals; and (2) fact
       discovery regarding the profits to the relevant TPP Plaintiffs from fulfillment
       of all claims in issue. Should the Court later determine that damages-based
       expert discovery may proceed, Wholesaler Defendants will seek to serve such
       discovery on the TPP Plaintiffs as well. As noted in their April 12, 2023
       submission (Dkt. 2339), Wholesaler Defendants propose the parties meet and
       confer on the language of these discovery requests, and, as has been customary
       in this litigation, submit the proposed Requests for Production and Rule
       30(b)(6) Notices of Deposition to the Special Master for discussion and
       approval. A copy of Wholesaler Defendants’ proposed Requests for Production
       and Rule 30(b)(6) Notices of Deposition are attached.

       Plaintiffs’ counsel has previously taken the position that Wholesaler
       Defendants’ request for discovery from Plaintiffs is inappropriate because
       “general fact discovery” is closed. That is incorrect, as demonstrated by CMO
       32 and the Court’s prior rejection of that argument in the TPP trial case. As
       CMO 32 itself recognizes, the specific fact discovery on the certified class
       claim of unjust enrichment is separate and distinct from the general fact
       discovery of prior phases. The first phase of discovery focused on document
       and deposition discovery of Manufacturer Defendants, depositions of economic
       loss and medical monitoring putative class representatives, and depositions of
       personal injury bellwether Plaintiffs. (See CMO 23, Dkt. 863.) The second
       phase focused on document and deposition discovery of Wholesaler and
       Pharmacy Defendants. (Id.) The limited discovery that Defendants were
       permitted to take related to the TPP class representatives pertained directly and




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       narrowly to class certification—specifically, whether the TPP Plaintiffs’
       damages model is susceptible to class treatment. (Dkt. 650.)

       The Court now has certified Plaintiffs’ unjust enrichment claim against
       Wholesaler Defendants and issued CMO 32 permitting discovery of
       Wholesaler Defendants specifically on that claim. By the same token, and as a
       matter of due process, Wholesaler Defendants should be permitted to take fact
       discovery on the elements of that unjust enrichment claim, including discovery
       of evidence in Plaintiffs’ possession supporting or contradicting their purported
       damages. For instance, a TPP Plaintiff cannot establish a Wholesaler Defendant
       was unjustly enriched without any data linking a particular Wholesaler
       Defendant to a specific VCD transaction. Thus, Wholesaler Defendants require,
       among other things, discovery of data in Plaintiffs’ possession showing which
       VCD transactions involved which Wholesaler Defendant, if any. Also,
       Wholesaler Defendants require discovery of the TPP Plaintiffs’ revenues and
       profits associated with each of their VCD transactions. Plaintiffs’ expert Dr.
       Rena Conti claims that the VCDs TPP Plaintiffs reimbursed for were
       “worthless.” Evidence showing that the TPP Plaintiffs profited from their
       agreements to reimburse for VCDs would demonstrate otherwise. And, there
       are other subjects on which Wholesaler Defendants require discovery in order
       to defend against Plaintiffs’ unjust enrichment claim, all of which are addressed
       in the attached proposed Requests for Production and Rule 30(b)(6) Notices of
       Deposition.

       At the August 24, 2022, Case Management Conference, the Court told the
       parties that it “ha[s] never forced a lawyer to go to trial when they don’t have
       the discovery they need in a case.” (Aug. 24, 2022 CMC Hr’g Tr. 26:14-15
       (Dkt. 2151).) At this stage of the proceedings, Wholesaler Defendants need
       discovery on the certified class claim of unjust enrichment. And, just as CMO
       32 authorized Plaintiffs to take discovery of Wholesaler Defendants on their
       unjust enrichment claim, Wholesaler Defendants request similar authorization
       to take discovery from Plaintiffs on that same claim. Wholesaler Defendants
       respectfully request that the Court enter an order permitting them to serve




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       negotiated Requests for Production and Rule 30(b)(6) Notices of Deposition
       regarding Plaintiffs’ unjust enrichment

                                            * * *

       In light of the foregoing, Wholesaler Defendants respectfully request
       modification and clarification of CMO 32 with respect to the information to be
       produced by Wholesalers and the date by which any such production must be
       made; as well as the extent of any custodial discovery and the search terms to
       be applied in conducting any searches thereof. Wholesalers also respectfully
       request an Order permitting Wholesalers to serve discovery on Plaintiffs with
       respect to the Plaintiffs’ certified class claim of unjust enrichment.


       Very truly yours,

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